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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §    CASE NO. 9:16-CR-8(3)
                                                 §
ROMAN CASTILLO                                   §

        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       The court referred to this matter to the Honorable Keith F. Giblin, United States

Magistrate Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules

of Criminal Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge [Doc. #58].              The magistrate judge

recommended that the Court accept the defendant’s guilty plea and conditionally accept the plea

agreement. He further recommended that the Court finally adjudge the defendant as guilty on

Count One of the charging Indictment filed against the defendant in this case.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea [Doc. #58] of the United States Magistrate

Judge are ADOPTED. The Court accepts the defendant’s plea, but defers acceptance of the plea

agreement addendum until after review of the presentence report. The Court further ORDERS the

defendant’s attorney to read and discuss the presentence report with the defendant, and file any

necessary objections to the report before the date of the sentence hearing.




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       It is further ORDERED that, in accordance with the defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the defendant, Roman Castillo, is adjudged as

guilty on Count One of the Indictment charging violation of 21 U.S.C § 846

      SIGNED this 21st day of July, 2016.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE




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